 

Case 1:09-cV-08134-SHS Document9 Filed 02/0

  

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

ANTHONY CACERAS, : 09 Civ. 8134 (SHS)
Plaintiff,
-against- : LD_E_R
THE CITY OF NEW YORK, ETAL.,

Defendants.

 

SIDNEY H. STEIN, U.S.D.J.

A pretrial conference having been held today, with counsel for all parties present,

IT IS HEREBY ORDERED that:

l. The last day for the plaintiff to amend the complaint for the purpose of

adding additional police officers as defendants is March 19, 2010;
2. There will be a pretrial conference on May 7, 2010, at 10:00 a.m.; and

3. The last day for completion of discovery is July 30, 2010

Dated: New York, New York
February 4, 2010

SO ORDE D'

 

Sid y H. Stein, U.S.D.J.

